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_AT_ _CHATTANOOGA
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KIl\/IBERLY K. BULL, )
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P]aintiff_ L.-\..‘t-_'_a\.\`_,‘;t`)l. i;'

V_ 1 ~_--)-\- ~ NO. war Ct/,gy?

)
GROUP LONG TERM DISABILITY )
PLAN FOR TFE, INC., )

) `i:CG€/Yqj
TFE lnc. ) v 1

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) “§5\ "WLQ
and )

)
UNUM LIFE INSURANCE COMPANY )
OF AMERICA )

)

Defendants. )
NOTICE OF REMOVAL

 

Defendants Group Long Term Dis ability Plan for TFE lnc. TFE lnc. and Unum Life
Insurance Company of America, by and through the undersigned counsel, tile this notice of
removal in the above referenced state court action pursuant to 28 U.S.C. §1441. In support of
this Notice of Rernoval, Defendants show as follows:

l. On Novernber 17, 2008, a Cornplaint Was filed against the above-named
Defendants in the state court of Hamilton County, Tennessee, entitled Kimberly K. Bull v. Group
Long Term Disabifilj) Plan for TFE, Inc., TFE, fm and U man Life lnsurance Company of
America, case number 08-0891, in the Chancery Court for Hamilton County, Tennessee.

2. Unum Life InSurance Cornpany of America’s agent for Service of process Was
Served on November 24, 2008.

3. Group Long Term DiSability P.lan for TFE, Inc. and TFE, Inc. were served with a

copy of the summons and complaint on November 18, 2008.

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4. Plaintiff`s complaint was the first pleading filed of record and served from Which
Defendants could ascertain that Plaintiff’ s case arose under federal law and was thus removable
to this Court, and this thice of Removal has been filed within 30 days of the service of the
Complaint on all Defendants.

5. Pursuant to 28 U.S.C. §l446(a_) copies of the summons and complaint as well as
all other “process, pleadings and orders” served on Def`endants to date are attached to this Notice
of Removal as collective Exhibit A.

6. Venue is proper in this district and division pursuant to 28 U.S.C. §l44l(a),
because this district and division embraces the place in which the removed action had been
pending, i.e. Hamilton County, Tennessee.

7. This Notice of Removal is based upon 28 U.S.C. §l44l(b), which states that
“[a]ny civil action of which the district courts have original jurisdiction founded on a claim or
right arising under the Constitution, treaties or laws of the United States shall be removable
without regard of the citizenship or residents of the parties.”

8. This court possesses original jurisdiction over this civil action because it involves
a federal question under the provisions of the Employment Retirement Income Security Act, 29
U.S.C. §§lOOl er seq. (“ERISA”). More specifically, and as set forth in Plaintiff"s Complaint,
Plaintiff “brings this action to recover benefits due her for long-term disability payments under
the terms of the plan pursuant to the provisions of the Employment Retirement Income Security
Act, 29 U.S.C. §1001 et Seq. . . . and particularly 29 U.S.C. §l l32(a)(l)(l3).” (Complaint at ij_‘i),
Accordingly, this action is completely preempted by the provisions of ERISA, and this Court has

original jurisdiction over same.

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9. Defendants are simultaneously filing a copy of this Notice of Removal With the
State Court of Hamilton County, Tennessee, and has given notice of same to Plaintiff as required
by 28 U.S.C. §l446(b).

lO. Defendants specifically reserve all defenses including_, without limitation, all
defenses specified in Rule l2(b) of the Federal Rules of Civil Procedure.

WHEREFORE, Defendants request this case be removed from the State Court of
Hamilton County, Tennessee and proceed in the United States District Court for the Eastern

District of Tennessee, Southern Division, as an action properly removed hereto.

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Respectfully submitted,

MILLER & MARTIN PLLC

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For TFE, Inc. and TFE, Inc.

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CERTIFICATE OF SERVICE

The undersigned hereby certifies that an exact copy of the foregoing pleading has been
served upon all counsel at interest in this case, by delivering a true and exact copy to the offices

of counsel of record shown at the addresses below, by placing a copy in the United States mail,
postage pre-paid.

John B. Dupree
McGehee, Stewart, Cole, Dupree & Roper, P.A.

709 Market Street
Knoxvi]le, TN 37902

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This j_b_\~day of ®€’(/**ib{ f , 2008.

MILLER & MARTIN PLLC

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